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                                        November 4, 2020
BY ECF
The Honorable Andrew L. Carter, Jr.                                                      November 9, 2020
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     Canfield, et al. v. SS&C Technologies Holdings, Inc., et al., 18-CV-08913-ALC
               Mendon, et al. v. SS&C Technologies Holdings, Inc., et al., 18-CV-10252-ALC
               Ferguson et al. v. Ruane, Cunniff & Goldfarb, Inc., et al., 1:17-cv-06685-ALC

Dear Judge Carter:

        Pursuant to Your Honors’ Individual Practices and the Southern District’s sealed filing
requirements, I write to request permission to file a letter under seal. The letter includes as an
attachment a letter which appears to have been written by an attorney at Paul, Weiss, Rifkind,
Wharton & Garrison, LLP. That letter may contain confidential information. I therefore request
that the letter attachment be filed and kept under seal.
                                                     Respectfully submitted,



                                                     Andrew Schermerhorn

cc:    All Counsel of Record (by ECF Filing)




                                             The Court grants the motion to keep the letter filed under seal.
